      Case 1:12-cr-00133-SEB-TAB                         Document 1720                Filed 07/20/16          Page 1 of 1 PageID #:
                                                                 7213
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)      Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                             Amber Rice                                    )
                                                                           )    Case No: 1:12CR00133-013
                                                                           )    USM No: 10961-028
Date of Original Judgment:                            10/16/2013           )
Date of Previous Amended Judgment:                                         )    Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           u
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)



    By way of Ms. Rice's Plea Agreement, she expressly agreed not to contest, or seek to modify, her
    conviction or sentence in any type of proceeding, including, but not limited to, an action brought
    under 18 U.S.C. § 3582; therefore, she is not eligible for a sentence reduction under Amendment 782.




Except as otherwise provided, all provisions of the judgment dated                                            shall remain in effect.
IT IS SO ORDERED.

Order Date:                7/202016
                                                                          _______________________________
                                                                                          Judge’s signature


Effective Date:
                                                                           SARAH Sarah
                                                                          Honorable EVANS BARKER,
                                                                                        Evans         JUDGE
                                                                                              Barker, U.S. District Court Judge
                     (if different from order date)                         United States District
                                                                                             PrintedCourt
                                                                                                     name and title
                                                                            Southern District of Indiana
